MORROW-HUTTON CO., INC., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Morrow-Hutton Co. v. CommissionerDocket No. 21404.United States Board of Tax Appeals10 B.T.A. 246; 1928 BTA LEXIS 4156; January 26, 1928, Promulgated *4156 Eustace LeMaster, C.P.A., for the petitioner.  J. E. Marshall, Esq., for the respondent.  LANSDON *246  The respondent has asserted a deficiency for the fiscal year ended January 31, 1923, in the amount of $1,089.57.  Only that part of the deficiency is in controversy which arises from the disallowance by the respondent of petitioner's deduction from net income of a net operating loss sustained during the preceding fiscal period of 11 months ending January 31, 1922.  The facts are stipulated.  FINDINGS OF FACT.  The petitioner is an Idaho corporation with its principal place of business at Wallace, Idaho.  During the taxable year and for many years prior thereto it was engaged in the general merchandise business.  With permission of the respondent, petitioner changed its accounting period from a fiscal year ending February 28, to a fiscal year ending January 31.  During the 11-month period beginning March 1, 1921, and ending January 31, 1922, petitioner sustained an operating loss in the amount of $6,960.45, which the respondent has disallowed as a deduction from petitioner's taxable income for the following fiscal year ended January 31, 1923.  *4157  OPINION.  LANSDON: Under the facts which we find above, our decision in this proceeding is controlled by . Judgment will be entered for the respondent.